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                 8                     UNITED STATES DISTRICT COURT
                 9                    CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11 ACTIVISION PUBLISHING, INC., a          CASE NO. 2:21-cv-3073-FLA (JCx)
                    Delaware corporation,
                 12                                        [Assigned to Judge Fernando L. Aenlle-Rocha]
                               Plaintiff,
                 13                                         [PROPOSED] ORDER GRANTING
                         v.                                 MOTION OF ACTIVISION
                 14                                         PUBLISHING, INC. (1) TO
                    WARZONE.COM, LLC,                       DISMISS COUNTERCLAIMS,
                 15                                         AND (2) FOR JUDGMENT ON
                                                            THE PLEADINGS
                 16
                               Defendants.
                 17
                                                            Date:        August 27, 2021
                 18 WARZONE.COM, LLC,                       Time:        1:30 pm
                 19            Counterclaimant,
                 20      v.
                 21 ACTIVISION PUBLISHING, INC., a
                    Delaware corporation,
                 22
                 23
                               Counterdefendant.
                 24
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                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
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             Case 2:21-cv-03073-FLA-JC Document 24-1 Filed 07/29/21 Page 2 of 2 Page ID #:127



                  1                                [PROPOSED] ORDER
                  2        On August 27, 2021, the Motion brought by Plaintiff and Counterclaim-
                  3 Defendant Activision Publishing, Inc. (“Activision”) (1) dismissing each of the
                  4 Counterclaims of Defendant and Counterclaimant Warzone.com, LLC
                  5 (“Counterclaimant”) with prejudice and without leave to amend, and (2) entering
                  6 judgment on the pleadings in favor of Activision on its claim for declaratory relief,
                  7 was heard on regular notice in Courtroom 6B of the United States District Court
                  8 for the Central District of California, located at 350 West 1st Street, Courtroom
                  9 6B, 6th Floor, Los Angeles, California 90012, the Honorable Fernando L. Aenlle-
                 10 Rocha, presiding.
                 11
                 12        After full consideration of the pleadings, the moving, opposition, and reply
                 13 papers, and the argument of counsel, the Court hereby GRANTS Activision’s
                 14 Motion and orders as follows:
                 15
                 16        1. The counterclaims are dismissed without leave to amend.
                 17        2. Judgment hereby is entered in favor of Activision and against
                 18            Counterclaimant on Activision’s claim for Declaratory Relief.
                 19
                 20        IT IS SO ORDERED.
                 21
                 22 DATED: __________, 2021
                 23                                               Honorable Fernando L. Aenlle-Rocha
                                                                  United States District Court Judge
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    Mitchell     28
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   Knupp LLP
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